Motion by respondent for an order dismissing the appeal on the ground that appellants have failed to comply with the provisions of section 953c of the Code of Civil Procedure and rule VIII of the Rules of the Supreme Court and District Courts of Appeal.
[1] This case grew out of the same occurrence as that involved in William Richard Irwin v. Pickwick Stages System,Incorporated, and R.I. Bailey (Civil No. 7819), ante, p. 372 [1 P.2d 1030], motion to dismiss appeal in which has been this day denied. The questions raised on the present motion and the points of law involved are in all material respects the same as those in that action, and in consequence the decision there governs this case.
Motion denied.
Works, P.J., and Craig, J. concurred. *Page 767 